
In re Roundtree, James; — Defendant; Applying for Supervisory and/or Remedial Writs, Parish of Ouachita, 4th Judicial District Court Div. G, Nos 88-2879, 97-0544; to the Court of Appeal, Second Circuit, Nos. 35405-CW, 35406-CW.
Granted. From the information supplied in the application, it does not appear the trial court conducted an appropriate hearing in this matter. Accordingly, in the interest of justice, we will vacate the judgment of the trial court, and remand the case for a new hearing pursuant to La.Code Evid. art. 508. At that hearing, the trial court should receive evidence from plaintiffs which supports their contention that the requested discovery is not protected by the attorney-client privilege, and allow re-lators to conduct cross-examination of plaintiffs’ witnesses and submit rebuttal evidence.
TRAYLOR, J., recused.
